985 F.2d 582
    NOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Jerry Wayne WOOTEN and Linda Marie Wooten, legalrepresentatives for Audrey WOOTEN, a minor,Petitioners-Appellants,v.SECRETARY OF the DEPARTMENT OF HEALTH AND HUMAN SERVICES,Respondent-Appellee.
    No. 92-5100.
    United States Court of Appeals, Federal Circuit.
    Nov. 17, 1992.
    
      PER CURIAM.
    
    
      1
      Before PAULINE NEWMAN, PLAGER and LOURIE, Circuit Judges.
    
    
      2
      APPEAL DISMISSED.
    
    